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      IN THE CIRCUIT COURT OF PRAIRIE COUNTY, ARKANSAS
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DAVID KAY                                                            PLAINTIFF

v.

CORY McMILLAN and
RABBIT RIVER TRANSPORT II,
d/b/a NORTHERN EQUIPMENT LEASING                                  DEFENDANTS


                                  COMPLAINT

      Comes now the Plaintiff, David Kay, by and through his attorneys, Gary

Holt & Associates, P .A., and for his Complaint against the Defendants, Cory

McMillan and Rabbit River Transport II, d/b/a Northern Equipment Leasing

(herein after "Northern Equipment"), alleges and states:

      1.      Plaintiff is an individual resident of Oklahoma. Defendant Dwight

Robb is a resident of Michigan. Defendant Northern Equipment is a foreign

corporation, doing business in the state of Arkansas. The events giving rise to this

lawsuit occurred in Prairie County, Arkansas. Jurisdiction is proper in this Court.

Venue is proper in Prairie County, Arkansas.

      2.      On or about May 13, 2012, at approximately 7:00 p.m., Plaintiff

David Kay was operating an automobile in a westerly direction on Interstate 40.

                                         1                 EXHIBIT

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At a point located approximately mile marker 203.70 located approximately 1.48

miles east of the city of Biscoe,   Ar~ansas,   Plaintiff David Kay slowed his vehicle

behind another vehicle, operated by Michael Moore, who was also slowing. Said

vehicles were in a construction zone. At said point and time, the Defendant, Cory

McMillan, was operating a tractor trailer in the course and scope of his

employment with Northern Equipment, also in a westerly direction on said

Interstate, behind Plaintiff. Defendant Cory McMillan failed to slow for Plaintiffs

vehicle, and struck the rear. As a result of the negligence of the Defendant, Cory

McMillan, for which Defendant Northern Equipment is vicariously liable, Plaintiff

suffered damages more specifically described herein after.

      4.      Defendant Cory McMillan was guilty of negligence, for which the

Defendant Northern Equipment is vicariously liable.          Said acts of negligence

include, but are not limited to, the following:

             a.     Failing to keep a proper lookout;

             b.     Failing to keep the vehicle he was driving under proper

                    control;

             c.     Driving at a speed greater than was reasonable and prudent

                    under the circumstances;

             d.     Failure to yield the right of way to the forward vehicle;

             e.     Failure to slow his vehicle in a construction zone; and

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                f.    Otherwise failing to exercise ordinary care under the

                      circumstances.   ·

        5.      As a result of the negligence and carelessness set out herein above,

Plaintiff, David Kay, has suffered painful and permanent personal injuries,

incurred expenses for medical care, treatment and services in the past and is

reasonably certain to require medical care, treatment, and services in the future,

underwent pain, suffering and mental anguish in the past and is reasonably certain

to experience pain, suffering and mental anguish in the future, suffered a loss of

earnings and working time in the past, and is reasonably certain to sustain a loss of

future earnings and working time.

       WHEREFORE,       Plaintiff David Kay prays for a judgment against the

Defendants, Cory McMillan and Northern Equipment, jointly and severally, in an

amount adequate to compensate him for the injuries and damages he has sustained,

said amount being in excess of that required for Federal Court jurisdiction in

diversity of citizenship cases; for costs; for pre- and post-judgment interest; and for

any and all other just and proper relief to which he may be entitled. Plaintiff prays

for a jury trial.




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                               Respectfully submitted,

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